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                      CIVIL RIGHTS COMPLAINT PURSUANT TO 42 U.S.C. §fl9tt:tED IN CLERK'S OFFICE
                                                                                      ,¥       U.SD.C.• Atlanta

                               IN TIlE UNITED STATES DISTRICT COURT                   "r .
                                                                                       ~   4

                             FOR TIlE NORTHERN DISTRICT OF GEORGIA                             MAR 30 2018
                                                                                     ~ ~ES N. HATTE~, cler~.. ,
                                                                                     U~~~~lell\


KEVIN MELVI1~ WEEKS, GDC 967825,

                             -vs­
                                                                 t :1 P - r\l-1373
ROBERT C. GRADY, DEPUTY SHERIFF -SERGEANT,

MARYAM MUHAMMAD, DEPUTY SHERIFF-SERGEANT,

THEODORE JACKSON, SHERIFF, and

MARK ADGER, CHIEF JAILER



I.      Previous Lawsuits

        A.       Have you filed other lawsuits in federal court while incarcerated in any institution?

                                    Yes (X )         No ( )

        B.       If your answer to A is yes, describe each lawsuit in the space below. (If there is more
                 than one lawsuit, describe the additional lawsuits on another piece of paper, using the
                 same outline.)

                 1.          Parties to this previous lawsuit:

                             PlaintifI(s): Kevin Melvin Weeks
                             Defendant(s): Brown

                 2.          Court (name the district): Northern District, Georgia

                 3.          Docket Number: 1:03-CV-682-CAM

                 4.          Name ofjudge to whom case was assigned: Honorable Charles A. Moye, Jr.




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I.         Previous Lawsuits (Cont'd)



                   5.          Did the previous case involve the same facts?

                                      Yes (   )      No( x )

                   6.          Disposition (Was the case dismissed? Was it appealed? Is it still pending?):
                               Granting Defendant's motion to dismiss, or in the alternative, for summary
                               judgement.

                    7.         Approximate date of filing lawsuit:   2003

                   8.          Approximate date of disposition:      July 7,2004


*SECOND CNIL ACTION*

I.         Previous Lawsuits

           A.      Have you filed other lawsuits in federal court while incarcerated in any institution?

                                      Yes (X )        No( )

           B.      If your answer to A is yes, describe each lawsuit in the space below. (If there is more
                   than one lawsuit, describe the additional lawsuits on another piece of paper, using the
                   same outline.)

       1. Parties to this previous lawsuit:

           Plaintiff(s): Kevin Melvin Weeks

           Defendant(s): Robert C. Grady, Maryam Muhammad, Theodore Jackson and Mark Adger

       2. Court (name the district): Northern District, Georgia

       3. Docket Number:              1:18-CV-52-MHC

       4. Name ofjudge to whom case was assigned: Honorable Mark H. Cohen

       5. Did the previous case involve the same facts?

                                      Yes (x )                No(    )




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I.         Previous Lawsuits


       6. Disposition (Was the case dismissed? Was it appealed? Is it still pending?):
          Dismissed without prejudice for misrepresentation of litigation history

       7. Approximate date of filing lawsuit:         December 15,2017

       8. Approximate date ofdisposition:              February 13, 2018


U.         Exhaustion of Administrative Remedies

           Pursuant to 28 U.S.C. § 1997e(a), no prisoner civil rights action shall be brought in federal court

           until all available administrative remedies are exhausted. Exhaustion of administrative remedies

           is a precondition to suit, and the prisoner plaintiff must establish that he has exhausted the entire

           institutional grievance procedure in order to state a claim for reliet

           A.       Place of Present Confinement:           Calhoun State Prison

           B.       Is there a prisoner grievance procedure in this institution?

                                      Yes (X)        No( )

           C.       Did you present the facts relating to your complaint under the institution's grievance
                    procedure?

                                       Yes ( )       No(X)

           D.       If your answer is YES:
                    1.      What steps did you take and what were the results?




                    2.          If your answer is NO, explain why not:    The incident took place at Fulton
                                County Jail in Adanta, Georgia where Kevin Melvin Weeks did file a grievance.




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m.     Parties
       (In item A below, place your name in the first blank and place your present address in the second
       blank.)

       A.       Name of Plaintiff: Kevin Melvin Weeks


                 Address(es): Calhoun State Prison; P.o. Box 249; 27823 Main Street;
                              Morgan, Georgia 39866.


       (In item B below, place the full name of the defendant in the first blank, hislher official position
        in the second blank, and hislher place of employment in the third blank. Do the same for each
        additional defendant, if any.)

       B.        Defendant(s): Robert C. Grady

                 Employed as Fulton County Deputy Sheriff-Sergeant

                 at Fulton County Jail: 901 Rice Street; Atlanta, Georgia 30318

        C.       Defendant(s): Maryam Muhammad

                 Employed as Fulton County Deputy Sheriff-Sergeant

                 at Fulton County Jail: 901 Rice Street; Atlanta, Georgia 30318

        D.       Defendant(s): Theodore Jackson

                 Employed as Fulton County Sheriff

                 at Fulton County Sheriff Office: 185 Central Avenue, Suite 9000; Atlanta, GA 30303

        E.       Defendant(s): Mark Adler

                 Employed as Fulton County Chief Jailer

                 at Fulton County Jail: 901 Rice Street; Atlanta, Georgia 30318




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IV.    Statement of Claim
       State here as briefly as possible the facts of your case. Describe how each defendant is involved.
       Include also the names of other persons involved, dates, and places. Do not give any legal
       arguments or cite any cases or statutes. If you intend to allege a number of related claims,
       number and set forth each claim in a separate paragraph. (Use as much space as you need. Attach
       extra sheets if necessary.)

       DESCRIPTION OF HOW EACH DEFENDANT IS INVOLVED

       L On December 15, 2016, Kevin Melvin Weeks (Weeks) was picked up from the state system

           by the Fulton County Sheriff's Agency (Agency) and transported to the Fulton County Jail

            (Jail) on a Court Production Order (CPO) for a mandamus hearing scheduled for December

            16,2016.

       2. The transport van arrived at the Fulton County Jail on December 15, 2016 at I 1:03AM. As the

            state prisoners were taken out ofthe van, Fulton County Deputy Sheriff T. Francis #2688 said,

            "We have six CPOs, including Jeremy Moody." (re: The term CPOs refers to state prisoners

            returning on a Court Production Order (CPO». Weeks was escorted into the sally port area

            and pat-frisked by one of the transporting deputies.

       3. Weeks was instructed to leave his property in the sally port and have a seat in the waiting area

            as Intake Officer Franklin Jones (Jones) began processing the CPOs.

       4. Weeks was one of six CPOs. Within 15 minutes, Property Officer Markeness Jackson (M.

            Jackson) called Weeks to the property room with two other CPOs.

       5. Property Officer M. Jackson subjected Weeks to a routine intake processing strip search by

            having Weeks (a) open his mouth, (b) strip naked, (c) squat and cough, (d) lift his hands and

            feet and then (e) giving Weeks a red jumpsuit.         Afterwards, M. Jackson searched and

            inventoried the property which arrived with Weeks. Weeks was only allowed to take legal

            materials to the dorm while other items were stored in a property box. The officer instructed

            Weeks to return to the waiting intake area.




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IV. Statement of Claim (Cont'd)


       6. As Weeks waited, Intake Officer Jones allowed Weeks to use the free operating phone to notify

            his wife that he had arrived at the Jail. After all CPOs were processed, they were placed into

            holding Cell #127, away from all other arrestees.

       7. Between 2:30pm and 3:00pm on December 15,2016, Sergeant Robert C. Grady (Grady) came

            to holding cell #127 and officially commanded, "All ofy'all, get your things and come with

            me, now!" Weeks and five other CPOs picked up their property and stepped outside of the

            cell and was escorted back to the property room by Grady.

       8. When Weeks entered the property room, Officers Jones, M. Jackson, and Rafferty Fuqua

            (Fuqua) were waiting for the group of CPOs. Once in the room, Weeks and the other CPOs

            were instructed by Grady to line up shoulder to shoulder in a group. Grady then said, "Put

            your things down, turn around and face the wall, and take off your jumpsuits." The CPOs

            were now standing there naked with their buttocks facing the four officers. In close proximity

            to Weeks, Grady moved in closer and said, "Now bend over, spread your cheeks, squat and

            cough."

        9. After Weeks did as instructed, Grady continued his actions and commanded, "Now turn around

            and lift your arms, open your mouth, squat again and then grab your penis and lift your nuts."

            At that moment, Grady, who was serving in an official capacity over Weeks, made an uninvited

            voyeuristic sound of"umm" which signified Grady's sexual arousal.

        I O. Officer Jones exclaimed, "What the hell is this sissy punk shit? Officer M. Jackson already

            strip searched them ... I am not down with this wood watching; and you have violated these

            guys and you violated me. I don't watch the wood!" Then Jones walked out of the property

            room away from Grady who tried to stop Jones by placing his hand on Jones shoulder, but

            Jones snatched away from Grady's grasp. M. Jackson and Fuqua followed Jones. Grady
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          turned to Weeks and the other CPOs and said, "Put your jumpsuits back on and go back to cell

          #127." Grady nor the other officers searched the prisoner's jumpsuits or their personal

          property prior to the CPOs returning to cell #127.

      11. Weeks wanted to speak with his wife about the incident that just took place. He noticed that

          the shift changed and thought this to be a chance to use the free operating phone again. So,

          Weeks tapped on the cell window to get Intake Officer Brian Martin's (Martin) attention.

          When Martin came to the cell door, Weeks said, "Sir, I need to use the phone. "       It is very

          important." Officer Martin said, "You have to talk with Sergeant Grady." From the intake

          desk, Grady asked, "What do they want?" Martin said, "They want to use the phone." Grady

          replied, "No, they already used it on first watch." Weeks said nothing else because he didn't

          trust speaking with the staff for fear of what might happen to him. Weeks didn't want to

          jeopardize his safety ofhis life, due to the reports he heard about Jail inmates being beaten by

          this Agency's Green Team.

      12. On December 15,2016 between 8:00pm and 9:00pm, approximately nine (9) hours later, the

          CPOs were removed from intake and taken to the medical floor to be seen by the medical

          provider. Once on the medical floor, Weeks and the other CPOs were placed into another

          holding celL Weeks was subjected to sleeping on a cold cell floor in only his jumpsuit with

          no underwear. Between 6:30am and 7:00am, Weeks was seen by the medical provider. After

          Weeks' name was called to appear in court, he was rushed to court from the medical holding

          cell without any underwear underneath his red jumpsuit. It was after 12:3Opm on December

          16,2016 when Weeks returned from court and taken to Housing Unit 7 South. At this time,

          Weeks received a kit that contained Jail issued items to include 2 underwear.

      13. Weeks tried to use the dorm pre-paid phone system to call his wife, but unable to because he

          had not received a Securus Technologies (Securus) PIN which is required as part ofthe process

          to activate the phone. The only way to use the phone was after activation ofthe Securus Voice

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          Biometrics system. Weeks was told by the floor officer (Officer John Doe) that "your phone

          voice activation should have been done when you were processed into the Jail."

      14. Weeks received the PIN number on December 17,2016 but was still unable to use the phone

          because a floor officer is required to escort the inmate to another floor in order to activate the

          Jail's Securus Voice Biometrics system.

      15. Weeks was not escorted by a floor officer to activate the Securus Voice Biometrics system

          until on or about December 20, 2016.

      16. On December 22, 2016, Weeks spoke with Sergeant C. Taylor (Taylor), the first watch

           supervisor over Housing Unit 7 South; and she instructed Weeks on how the grievance

          procedure works at the Jail. This was when four of the six CPOs, Weeks, Gregory Fields,

          Travis Worthen, and Christopher Pace, filed grievances regarding the December 15, 2016

           second strip search incident.

      17. On December 28,2016, Weeks was called to the Housing Unit 7 South multipurpose room.

           When he entered the room, Sergeant Maryam Muhammad (Muhammad) and another officer,

          believed to be Officer Fitten, were waiting on him. Muhammad said, "On behalfofthe Fulton

           County Jail and the Fulton County Sheriff's Office, I apologize that this has happened to you

           and as the PREA Investigator, I must inform you that this is now a Federal Investigation."

           Muhammad then asked, "Is this your grievance and signature?" Weeks replied, "Yes." Then

           Muhammad asked, "Is everything that you wrote your factual statement of what happened to

          you?" Weeks replied, "Yes." Sergeant Muhammad, then said, "I need you to sign Miranda

          and Garrity statement forms."

      18. Weeks began to ask a question as he was signing the forms and that was when he noticed that

           Muhammad's Body Cam was recording. "May I have a copy ofthe grievance?" asked Weeks.

           Muhammad looked at the officer to her left and replied to Weeks, "Your grievance has been



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          administratively closed and you will receive a copy from Grievance Officer Streeter... This

          is now a PREA investigation." Weeks was sent back to the dorm.

      19. Within a few days of Week's initial contact with Muhammad, he had not received anything in

          the mail from Grievance Officer Streeter. On December 30, 2016 Weeks followed up by

           sending Muhammad a letter exercising his rights to exhaust the Jail's administrative remedies.

           On the following transfer day of January 3, 2017, Weeks was transferred back to Washington

           State Prison without a copy of the requested grievance.

      20. On or about January 9, 2017, Weeks sent several letters to Theodore Jackson (T. Jackson),

           Muhammad, Mark Adger (Adger) and Byron McMullen (McMullen) at the Agency and Jail

           requesting his initial copy of the grievance that was filed on December 22,2016. Weeks did

           receive two letters from Muhammad stating that she could not provide the requested records

           and that the records must be obtained from the Jail's Record Custodian McMullen.

      21. Weeks sent several Open Records Request to the Jail's Record Custodian Sergeant McMullen

           and received no responses thereafter.


      COUNT I: ILLEGAL AND UNCONSITUTIONAL STRIP SEARCH


      22. Plaintiff Weeks incorporates by reference paragraphs 1 through 21.

      23. Plaintiff Weeks is entitled to the due process and equal protection of the laws under U.S.

           Constit. amend. IV, VIII and XIV and Georgia Const. and Laws. art. I § 1(2)(13)(17).

      24. Defendant Grady, as sergeant for the Agency in his individual and official capacity while acting

           under the color of state law, actions of a second successive strip search were illegal, intrusive,

           unconstitutional and unrelated to any "Exigent Circumstance" of any reasonable suspicion that

           the plaintiff was concealing a weapon, contraband or evidence of a crime while under constant

           supervision of cameras and a floor officer since the plaintiffs initial BLANKET STRIP



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           SEARCH; thus, Defendant Grady did deprive Plaintiff Weeks of his rights guaranteed by the

           U.S. Constit. amend. IV, VIII and XIV and Georgia Const. and Laws. art. I § 1(2)(13)(17).

      25. Defendant Grady abridged the Agency and Jail Bureau's Strip and Body Cavity Search

           procedures and officers Code of Ethics by intentionally stepping apart and aside from the

           perfonnance of his official duties by imposing humiliating, unsafe, and unprofessional

           practices not related to any initial intake processing. Defendant Grady instructing Weeks with

           five (5) other CPOs as a group to line up, strip naked, bend over, spread buttocks and squat­

           cough multiple times in a repeated fashion, then forcing Weeks to grab and lift genitals for a

           second inspection, absent any reasonable belief or probable cause that would result in the

           discovery of evidence of a crime or suspicion of a crime that Weeks has committed, was

           unconstitutional.

      26. The above described actions of Grady were undertaken in his individual and official capacity

           while acting under the color of state law as sergeant for the Agency at the Jail; and Grady'S

           actions of unconstitutionally strip searching Weeks in/as a group for a non-penological reason

           did deprive plaintiff of his equal protection and due process rights guaranteed to him by the

           U.S. Constit. amend. IV, VIII and XIV and Georgia Const. and Laws. art. I § 1(2)(13)(17).


      COUNT II: SEXUAL HARRASSMENT


      27. Plaintiff incorporates by reference paragraphs 1 through 26.

      28. Plaintiff is entitled to the due process and equal protection of the laws guaranteed under U.S.

           Constit. amend. VIII and XIV and Georgia Const. and Laws. art. I § 1(2)(17).

      29. Defendant Grady, as sergeant for the Agency undertaken at the Jail in his individual and official

           capacity while acting under the color of state law, did sexually harass plaintiff on December

           15, 2016, when Grady instructed Weeks during the second successive and unwarranted strip

           search to spread his buttocks and grab his genitals while Defendant Grady made the uninvited

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           voyeuristic sound of "umm" for the purpose of Grady's sexual gratification and did deprive

           Plaintiff Weeks of the equal protection laws to be free from sexual harassment.

      30. The above described actions of Grady were undertaken in his individual and official capacity

           while acting under the color of law as sergeant for the Agency at the Jail. Grady did sexually

           harass Weeks by unlawfully forcing him to expose the anal of his buttocks as well as the

           genitals and then making an unwelcomed verbal sound for reasons unrelated to Grady's official

           duties. The causation and personal involvement of Grady, did deprive Weeks' rights to equal

           protection of the Prison Rape Elimination Act of 2003 to be free from sexual harassment by

           the Agency or Jail's staff as, and when Grady stepped aside from the performance of his duties

           and was the causation and driving force that deprived Weeks of his equal protection and due

           process rights guaranteed to him by the PREA laws and the U.S. Const. amend. IV, VIII and

           XN and Georgia Const. and Laws. art. I § 1(2)(13)(17).


       COUNT III: CRUEL AND UNUSAL PUNISHMENT


       31. Plaintiff incorporates by reference paragraphs 1 through 30.

       32. Plaintiff is entitled to the due process and equal protections rights guaranteed under U.S.

           Constit. amend. VIII and XIV and Georgia Const. and Laws. art. I § 1(2)(17).

       33. Defendant Grady, as sergeant for the Agency undertaken at the Jail in his individual and official

           capacity while acting under the color of state law, did sexually harass plaintiff during an

           unconstitutional strip search while Plaintiff Weeks was naked which constituted cruel and

           unusual punishment when Grady stepped aside from the performance of Grady's official duties

           and made an uninvited voyeuristic sound for the sole purpose of Grady's sexual gratification.

           This cruel and unusual punishment deprived the plaintiff of equal protection and due process

           rights guaranteed by the U.S. Constit. amend. IV, VIII and XIV and Georgia Const. and Laws.

           art. I § 1(2)(13)(17).

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      34. The above described actions of Grady were undertaken in his individual and official capacity

          while acting under the color of state law as sergeant for the Agency at the Jail and constituted

          a Federal and State PREA Violation by stepping aside from the performance of his official

          duties and invaded plaintiff's bodily privacy for reasons unrelated to his official duties when

           Grady instructed Weeks and five (5) other intake CPOs to expose their buttocks and genitals

          as Grady made an uninvited voyeuristic sound. As a result, Grady did deprive Weeks of his

          rights to equal protection and due process guaranteed by the U.S. Constit. amend. VIII and XIV

          and Georgia Const. and Laws. art. I § 1(2)(13)(17).


      COUNT IV: DEPRIVATION OF CONSTITUTIONAL RIGHTS AND PRIVILEGES


      35. Plaintiff incorporates by reference paragraphs 1 through 34.

      36. Plaintiff is entitled to the equal protection of the laws guaranteed under U.S. Constit. amend.

           IV, VIII and XIV and Georgia Const. and Laws. art. I § 1(2)(13)(17).

      37. On December 15, 2016 Defendant Grady, as sergeant for the Agency undertaken at the Jail and

           in his individual and official capacity while acting under the color of state law, did expose the

           plaintiff's genitals under non-consensual circumstances solely for Defendant Grady's sexual

           gratification, thus, depriving Plaintiff Weeks rights to the equal protection of being in a safe

           environment, free from sexual abuse/sexual harassment and free from sexual exploitation

           practices guaranteed under U.S. Constit. amend. IV, VIII and XIV and Georgia Const. and

           Laws. art. I § 1(2)(17).

      38. Defendant         Muhammad,   as   sergeant   for   the   Agency     and    the   PREA     SART

          Representative/Investigator at the Jail in her individual and official capacity while acting under

           the color of state law, did with actual knowledge of impediment, colluded with the Grievance

           Officers Santrez Fitten and Christine Streeter in depriving the plaintiff from receiving a copy

           of the grievance form and violated the equal protection and due process rights and privileges

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           guaranteed under U.S. Constit. amend. VIII and XIV and Georgia Const. and Laws. art. I §

           1(2)(17).

      39. Defendants T. Jackson and Adger, jointly as Agency administrators of Jail Operations at the

           Jail, in their individual and official capacity while acting under the color of state law, did

           deprive Plaintiff Weeks upon arriving at the Jail of plaintiff's right to know the Agency/Jail's

           PREA zero-tolerance policy for sexual abuse and sexual harassment and adequate information

           on how to report an allegation at the Jail and did not provide verbal notification, a PREA

           pamphlet nor a PREA Hotline number within the Jail's revised 04/2015 inmate handbook. As

           a result, Defendants T. Jackson and Adger further violated and deprived plaintiff ofhis right to

           the protection of plaintiff's well-being under the custodial care of T. Jackson and Adger and

           further violated plaintiff's equal protection and due process rights guaranteed under U.S.

           Constit. amend. VIII and XIV and Georgia Const. and Laws. art. I § 1(2)(17).

      40. Defendants T. Jackson and Adger, as Agency administrators of Jail operations at the Jail in

           their individual and official capacity while acting under the color of state law, did negligently

           deprive plaintiff the right to have adequate underclothing when "changed out" during intake

           processing and did violate his equal protection and due process rights guaranteed under U.S.

           Constit. amend. VIII and XIV and Georgia Const. and Laws. art. I § 1(2)(17).

      41. Defendants T. Jackson and Adger as Agency administrators of Jail operations at the Jail, in

           their individual and official capacity while acting under the color of state law, did negligently

           deprive plaintiff the right to activate the Securus Voice Biometrics System when he was

           processed into the Jail for usage of the dorms phone system and violated his equal protection

           and usage due process rights guaranteed under U.S. Constit. amend. VIII and XIV and Georgia

           Const. and Laws. art. I § 1(2)(17).

      42. As a result of the deprivation of rights due that was motivated by the negligent actions of all

           defendants, Plaintiff Weeks was injured by the defendants and deprived ofthe equal protection

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          of having and exercising his rights and privileges guaranteed under U.S. Constit. amend. VIII

          and XIV and Georgia Const. and Laws. art. I § 1(2)(17).



      COUNT V: INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS


      43. Plaintiff incorporates by reference paragraphs 1 through 42.

      44. Plaintiff is entitled to the equal protection of the laws guaranteed under U.S. Const. amend.

          IV, VIII and XN and Georgia Const. and Laws. art. I § 1 (2)(13)(17).

      45. The conduct of Defendant Grady, undertaken at the Jail and in his individual and official

          capacity while acting under the color of state law herein set forth, was odious, perverse,

           degrading and outrageous. Not only were the acts of voyeuristic sexual harassment by Grady

          unwelcomed, but also, they were willful, deliberate, reckless. intentional, and persistently

          continuous when Grady violated plaintiff Weeks on December 15,2016 in the Fulton County

           Jail's property room.

      46. Grady's voyeuristic harassing advances, upon and while Weeks' person was naked and under

           the control of Grady as his instructive discretionary decisions and commands to perform acts

           thereupon, were extreme, intentional, and the causation of Weeks to suffer severe emotional

           distress.

      47. These actions ofGrady were so outrageous, in character and extreme in degree as to go beyond

           all possible bounds of ethical decency while implementing his discretionary decisions

          concerning the supervision ofsix (6) CPO's that were unrelated to any contraband incident and

          the causation ofthe Post Traumatic Stress Event (PTSE) and triggered Weeks's Post Traumatic

           Stress Disorder (PTSD) of childhood sexual abuse.




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      48. The actions of Grady's voyeuristic conduct during an unconstitutional strip and body cavity

           search was "wanton and unnecessary" that Frank Jones, a subordinate Detention Officer, had

           to stop Grady from violating the group and regarded his supervisors behavior as atrocious,

           utterly intolerable and contrary to contemporary standards of decency and violated Weeks'

           equal protection and due process rights to be free from intentional infliction ofemotional cruel

           and unusual punishment guaranteed under the U.S. Const. amend. IV, XIV and VIII and

           Georgia Const. and Laws. art. I § 1(2)(13)(17).




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v.           Relief
             State briefly exactly what you want the Court to do for you. Make no legal arguments. Cite no
             cases or statutes.

             WHEREFORE, Plaintiff Kevin Melvin Weeks respectfully prays that this court enter judgement

             granting plaintiff:

             A declaration that the acts and omissions described herein violated plaintiff's rights under the
             Constitution and Laws of the United States.

             Nominal damages in the amount of $75,000 against each defendant jointly and severally.

             Punitive damages in the amount of $100,000 against each defendant jointly and severally.

             Plaintiff's costs in the suit.

             A jury trial demanded on all issues triable by jury.

             Any additional relief this court deems just, proper and equitable.




             Signed this 27tl1 day of March, 2018.




                                                            Si
                                                              ~dJu.ke of Plaintiff


STATE OF GEORGIA
COUNTY OF FULTON

I declare under penalty of perjury that the foregoing is true and correct.

EXECUTED ON 27 March 2018
               (Date)



6~
Si        ture ofPlaintiff




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